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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )                    4:09CR3111
                                                 )
               v.                                )
                                                 )
HECTOR N. CERVANTES RIVERA,                      )          TENTATIVE FINDINGS ON
                                                 )        PRESENTENCE INVESTIGATION
                       Defendant.                )                 REPORT
                                                 )


       No objections having been filed to the Presentence Investigation Report, I tentatively find
that that Presentence Investigation Report is true and accurate. Objection to the tentative findings
may be made at the time of the sentencing hearing, but no evidence shall be permitted regarding any
objection.
       The defendant’s Motion for Variance shall be heard orally at the time of the sentencing
hearing. The total offense level is 36, the criminal history category is II, with a Guideline
imprisonment range of 210 to 262 months. Evidence may be offered as to the Motion for Variance.
       Dated June 22, 2010.

                                        BY THE COURT

                                        s/ Warren K. Urbom
                                        United States Senior District Judge
